                        Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.1 Filed 10/11/24 Page 1 of 13
                                                                                                                                                         r   h •
                                                                                                                                                         County     vi action
                                                                                                                                                                in which                      Wayne
                                                                                                                                                                         .• ai ose:______ ______
  JS 44 (Ret 10/20)                                                              CIVIL COVER SHEET
  The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
  provided by local rules of court This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
  purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ON NEXT PAGE Or THIS FORM)

  I- (a) PLAINTIFFS                                                                                                  DEFENDANTS
               Spencer Seguin, et al.                                                                                 Royal Highness, LLC and Herbology Cannabis Co


         (b) County of Residence of First Listed Plaintiff              Wayne                                        County of Residence of First Listed Defendant
                                                                                                                                                                                 Wayne
                                      (EXCEPT IN U.S PLAINTIFT CASES)                                                                          U S PIAINTIFF CASES ONI Y)
                                                                                                                     NOTE       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                THE TRACT OF LAND INVOLVED

         (c)    Attorneys (1'irni Name, Address, and Telephone Number)                                               Attorneys (If Known)

                Benjamin J Hall, Ben Hall Law, 139 W Lake Lansing Road
                Suite 140, East Lansing, Ml 48823


  II. BASIS OF JURISDICTION (Place an “X" in One Box Only)                                              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X'in One Box for Plaintiff
                                                                                                                 (For Dix emty Cases Only)                                       and One Box for Defendant)
         1   U S Government                HP       Federal Question                                                                           PTF      DEF                                           PTF        DEF
                Plaintiff                              (U S Go\ eminent Not a Pai tv)                      Citizen of Tins State           |    | 1         I   Incorporated oi Principal Place       |   | 4       4
                                                                                                                                                                  of Business In This State

         2   U S Government                    4    Diversity                                              Citizen of Another State              2         2    Incorporated and Principal Place             5      5
               Defendant                              (Indicate Citizenship ofParties m Item III)                                                                 of Business In Another State

                                                                                                           Citizen or Subject of a               3         3    Foreign Nation                               6      6
                                                                                                             Foreign Country'
 IV. NATURE OF SUIT fWgcg an "X m One Box Only)                                                                                                  Click here for, Natuie of Suit Code Desci iptions.
                CONTRACT                                               TORTS                                 FORFEITURE/PENALTY                          BANKRUPTCY                       OTHER STATUTES
         110 Insurance                      PERSONAL INJURY                   PERSONAL INJURY              22| 625 Drug Related Seizure          H 422 Appeal 28 USC 158               375 False Claims Act
         120 Manne
         130 Miller Act
                                       ^1 310 Airplane
                                          | 315 Airplane Product
                                                                             | 365 Personal Injury' -
                                                                                   Product Liability
                                                                                                                   of Property 21 USC 881
                                                                                                           2J 690 Other
                                                                                                                                                 2j 423 Withdrawal
                                                                                                                                                        28 USC 157
                                                                                                                                                                                   3   376 Qui Tam (31 USC
                                                                                                                                                                                           3729(a))
         140 Negotiable Instrument              Liability                E     367 Health Care/                                                                                        400 State Reapportionment
         150 Recovery of Overpayment 221 320 Assault, Libel &                     Pharmaceutical                                                      PROPERTY RIGHTS                  410 Antitrust
             & Enforcement of Judgment          Slander                           Personal Injury'                                                    820 Copyrights                   430 Banks and Banking

E        151 Medicare Act
         152 Recover}' of Defaulted
             Student Loans
                                       221 330 Federal Employers’
                                                Liability
                                          I 340 Manne
                                                                         E
                                                                                  Product Liability
                                                                              368 Asbestos Personal
                                                                                  Injury' Product
                                                                                                                                                      830 Patent
                                                                                                                                                      835 Patent - Abbreviated
                                                                                                                                                          New Drug Application
                                                                                                                                                                                       450 Commerce
                                                                                                                                                                                       460 Deportation
                                                                                                                                                                                       470 Racketeer Influenced and
             (Excludes Veterans)          | 345 Marine Product                    Liability                                                           840 Trademark                        Corrupt Organizations




                                                                                                                                                                                 nn m n
         153 Recoveiy of Overpayment              Liability                 ’ERSONAL PROPERTY                          LABOR                          880 Defend Trade Secrets         480 Consumer Credit
             of Veteran’s Benefits          1 350 Motor Vehicle              370 Other Fraud              X] 710 Fan Labor Standards                      Act of 2016                      (15 USC 1681 or 1692)
         160 Stockholders’ Suits            | 355 Motor Vehicle              371 Truth in Lending                 Act                                                                  485 Telephone Consumer
         190 Other Contract                        Product Liability         380 Other Personal           22| 720 Laboi/Management                    SOCIAL SECURITY                       Protection Act
         195 Contract Product Liability     | 360 Other Personal                 Property Damage          __      Relations                        861 HIA (1395ft)                    490 Cable/Sat TV
         196 Franchise                            Injury
                                            | 362 Personal Injury -
                                                                         E   385 Property Damage          ^740 Railway Labor Act                   862 Black Lung (923)                850 Secunties/Commodities/
                                                                                 Product Liability           1751 Family and Medical               863 DIWC/DIWW (405(g))                  Exchange
                                                                                                                                                 —
                                                  Medical Malpractice                                             Leave Act                        864 SSID Title XVI                  890 Other Statutory Actions
             REAL PROPERTY                     CIVIL RIGHTS                PRISONER PETITIONS             22| 790 Other Laboi Litigation           865 RSI (405(g))                    891 Agricultural Acts
UUJJUU




     210 Land Condemnation                  440 Other Civil Rights     Habeas Corpus:                     22| 791 Employee Retirement                                                  893 Environmental Mattei s
     220 Foreclosure                        441 Voting               3 463 Alien Detainee                         Income Security Act                 FEDERAL TAX SUITS                895 Freedom of Information
     230 Rent Lease & Ejectment             442 Employment             510 Motions to Vacate                                                      J 870 Taxes (US Plaintiff                Act
     240 Torts to Land                      443 Housing/                   Sentence                                                                      or Defendant)                 896 Arbitration
     245 Tort Product Liability
     290 All Other Real Property
                                                Accommodations
                                          J 445 Amer w/Disabihties -
                                                                       530 General
                                                                       535 Death Penalty                          IMMIGRATION
                                                                                                                                                    871 IRS—Third Party'
                                                                                                                                                         26 USC 7609
                                                                                                                                                                                  3    899 Administrative Procedure
                                                                                                                                                                                           Act/Review or Appeal of
                                                Employment             Other:                             2J 462 Naturalization Application                                                Agency Decision
                                            446 Amer w/Disabihties -   540 Mandamus & Other                 1465 Other Immigration                                                     950 Constitutionality of
                                                Other                  550 Civil Rights                          Actions                                                                   State Statutes
                                            448 Education              555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
 V. ORIGIN (Place an "X" in One Box Only)
[g] 1        Original        |~~|2 Removed from                Q| 3     Remanded from             | 14 Reinstated or | | 5 Transferred from  Q 6 Multidistrict                                    8 Multidistrict
             Proceeding            State Court                          Appellate Court         Reopened            Another District        Litigation -
                                                                                                                                                     Litigation -                                   Litigation -
                                                                                                                            (specify)                Transfer                                       Direct File
                                              Cite the U S Civil Statute under which you are fil mg (Do not citejurisdictional statutes unless diversity)
                                              Fair Labor Standards Act, 29 U S C 201, et seq and 29 U S C 216(b)
VI. CAUSE OF ACTION Brief description of cause
                                               Unlawful retention and distribution of tips
VII. REQUESTED IN                             □] CHECK IF THIS IS A CLASS ACTION                             DEMAND S                                      CHECK YES only if demanded m complaint
     COMPLAINT:                                  UNDER RULE 23, F R Cv P                                    Unknown                                        JURY DEMAND:                Bl Yes        QNo

VIII. RELATED CASE(S)
          IF ANY                                   @ee                   JUDGE                                                             _____ DOCKET NUMBER_________________________________




    RECEIPT#                         AMOUNT                                      APPLYING IFP                                      JUDGE                              MAG JUDGE
              Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.2 Filed 10/11/24 Page 2 of 13

PURSUANT TO LOCAL RULE 83.11

1.                Is this a case that has been previously dismissed?                      Yes
                                                                                          No
     If yes, give the following information:

     Court:

     Case No.:

     Judge:




2.                Other than stated above, are there any pending or previously
                  discontinued or dismissed companion cases in this or any other          Yes
                  court, including state court? (Companion cases are matters in which     No
                  it appears substantially similar evidence will be offered or the same
                  or related parties are present and the cases arise out of the same
                  transaction or occurrence.)

     If yes, give the following information:

     Court:

     Case No.:

 Judge:


Notes :
           Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.3 Filed 10/11/24 Page 3 of 13

AO 440 (Rev. 06/12) Summons in a Civil Action




                                                United States District Court
                                                                   for the
                                                      Eastern District of Michigan




      Spencer Seguin, et al.                                          )
                                                                      )               Civil Action No. 2:24-CV-12691
                                                      Plaintiff,      )

                                                                      )
                                       V-                             )
                                                                      )               Hon.
                                                                      )
      Royal Highness, LLC d/b/a                                       )
      Herbology Cannabis Co. and                      Defendant.      )
      Herbology Cannabis Co.

                                                     SUMMONS IN A CIVIL ACTION

To:
              Royal Highness, LLC and Herbology Cannabis Co.
              10248 W Jefferson Avenue, River Rouge, Michigan 48218.

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose name and
address are:

              Benjamin J. Hall
              Ben Hall Law
              139 W Lake Lansing Road, Suite 140
              East Lansing, Michigan, 48823

       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. Y ou
also must file your answer or motion with the court.



KINIKIA D. ESSIX, CLERK OF COURT                                   By:-------------------------------------------------------------------------------------
                                                                          Signature of Clerk or Deputy Clerk

                                                                          Date of Issuance:
           Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.4 Filed 10/11/24 Page 4 of 13

AO 440 (Rev. 06/12) Summons in a Civil Action



                                        Summons and Complaint Return of Service

                                                                Case No.
                                                                Hon.

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

          This summons for (name of individual and title, ifany)
 vnss received by me on (date)



                 I personally served the summons on the individual at (place)
                                                                                         on (date)                        ; or

                 I left the summons at the individual’s residence or usual place of abode with (name)
                                                                                                                  , a person of suitable age and

            on (date)                           , and mailed a copy to the individual’s last known address; or

                 I served the summons on (name of individual)                                                            , who is
             designated by law to accept service of process on behalf of (name oforganization)
                                                                                         on (date)                        ; or


                 I returned the summons unexecuted because                                                                        ; or

            O Other (specify):



          My fees are $                         for travel and $                 for services, for a total of $


          I declare under penalty of perjury that this information is true.


Date:                                                                                                                __________
                                                                                      Server's signature




                                                                                    Printed name and title




                                                                                      Server’s address


Additional information regarding attempted service, etc:
  Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.5 Filed 10/11/24 Page 5 of 13




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

 SPENCER SEGUIN, and all others
 similarly situated,

         Plaintiff,
                                                     Civil Action No. 2:24-cv-12691
 v.
                                                     JURY TRIAL DEMANDED
 ROYAL HIGHNESS, LLC d/b/a/
 HERBOLOGY CANNABIS CO., and

 HERBOLOGY CANNABIS CO.,

         Defendants.




                      COLLECTIVE AND CLASS ACTION COMPLAINT

        1.      Plaintiff Spencer Seguin is employed by the Defendant, and he brings this action

as a collective action in accordance with 29 U.S.C. § 216(b) of the Fair Labor Standards Act

(FLSA), and as class action under Michigan common law, against the Defendant on behalf of

himself and all others similarly situated because of Defendant’s failure to pay wages in accordance

with the FLSA and Michigan common law. Plaintiff seeks a declaratory judgment under 28 U.S.C.

§ 2201 and compensation, liquidated damages, equitable and other relief available under the

FLSA, as amended, 29 U.S.C. § 201 et seq., and under Michigan common law.

                                JURISDICTION AND VENUE

       2.      Jurisdiction is conferred on this Court by 29 U.S.C. § 216(b), 28 U.S.C. § 1331, 28

U.S.C. § 1337, and 28 U.S.C. § 1367(a).

       3.      Venue lies within this district pursuant to28U.S.C. § 1391.

                                           PARTIES
  Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.6 Filed 10/11/24 Page 6 of 13




       4.      Plaintiff Spencer Seguin is employed by Defendant in the position of budtender at

Defendant’s Jefferson Avenue retail location in River Rouge, Michigan. Plaintiff has given his

written consent to be a party-plaintiff in this action pursuant to 29 U.S.C. § 216(b). His consent is

appended to this Complaint as Exhibit A. Plaintiff brings this action as a collective action on behalf

of himself and all others similarly situated in accordance with 29 U.S.C. § 216(b). Plaintiff also

brings this action as a class action on behalf of himself and the class defined below in accordance

with Fed. R. Civ. P. Rule 23.

       5.      Defendant Royal Highness, LLC d/b/a Herbology Cannabis Co. (“Herbology”) is

a cannabis company headquartered at 10248 W Jefferson Avenue, River Rouge, Michigan 48218.

Defendant Royal Highness, LLC owns and operates cannabis dispensaries in Michigan.

       6.      Defendant Royal Highness, LLC does business in Michigan as Herbology Cannabis

Co. Defendant Herbology does business in Michigan. The mailing address, principal place of

business and corporate headquarters of Defendants is 10248 W Jefferson Avenue, River Rouge,

Michigan 48218. Defendants can be served through their registered agent, Nickolas G. Calkins, at

10248 W Jefferson Avenue, River Rouge, Michigan 48218.

       7.      Defendants are “employers” within the meaning of 29 U.S.C. § 203(d). Defendants

are “persons” within the meaning of 29 U.S.C. § 203(a)

       8.     At all times material to this action, Defendants have been enterprises engaged in

commerce as defined by 29 U.S.C. § 203(r)(l), with an annual dollar business volume exceeding

$500,000.

       9.     At all times material herein, Defendants have been actively conducting business in

Michigan.




                                                 2
  Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.7 Filed 10/11/24 Page 7 of 13




                                               FACTS

        10.      Defendants own and operate cannabis dispensaries in Michigan. Herbology

operates entirely in Michigan. There are at least 7 Herbology stores in Michigan that are owned

and operated by Defendants.

        11.      Plaintiff has been employed by Defendants as a budtender from April 2024,

continuing through the present.

        12.      Plaintiff works at the Jefferson Avenue Herbology location, located at 11392 W

Jefferson Avenue, River Rouge, Michigan, 48218.

        13.      Defendants’ stores sell a variety of cannabis products for recreational purposes.

        14.      Defendants’ stores are staffed by a store manager, supervisors, and budtenders,

among other employees. In each store, there are typically 6-8 budtenders, 1-2 supervisors, and 1

store manager.

        15.      Budtenders work on the sales floor and at the cash register assisting customers in

the selection of cannabis products.

        16.      As a budtender, Defendants pay Plaintiff and those similarly situated at an hourly

rate of $ 15 per hour. Plaintiff and those similarly situated also customarily and regularly earns

more than $30 per month in tips.

       17.       Supervisors and store managers oversee the budtenders and work in the back office

conducting inventory and completing paperwork, among other managerial tasks.

       18.       It is common in the industry for cannabis dispensaiy customers to leave tips.

       19.     At Herbology stores, customers can purchase products in one of two ways, with

cash or with a credit card. Customers can leave tips regardless of their method of payment.




                                                  3
  Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.8 Filed 10/11/24 Page 8 of 13




        20.     Specifically, customers can leave tips in one of two ways. First, there is a tip jar

 located in front of each cash register where customers can leave cash tips. Second, if customers

pay with a credit card, they are able to leave a credit tip through the electronic payment system.

        21.     Pursuant to company-wide policy and practice, Defendant uses a mandatory tip

pool system to distribute tips, both cash and credit, to employees.

        22.     Up until approximately September 15, 2024, pursuant to company-wide policy and

practice, tips, both cash and credit, were distributed to employees daily. Cash tips were gathered

and pooled from the tip jars, and the amount of credit card tips would be taken out of the register

in cash and added to the tip pool. At the end of each workday, the tips were divided evenly among

all employees, including budtenders, supervisors, and the store manager, who worked in the store

that day.

        23.    After approximately September 15, 2024, pursuant to company-wide policy and

practice, tips, both cash and credit, have been distributed to employees on a weekly basis. At the

end of each workweek, the tips are divided among all employees, including budtenders,

supervisors, and the store manager, based on the number of people, working in the store and the

number of hours each person worked.

                COLLECTIVE ACTION FOR VIOLATIONS OF THE FLSA

        24.    Defendant has violated the provisions of the FLSA, resulting in damages to Plaintiff

and those similarly situated to Plaintiff, in the form of wrongfully withheld tips, incurred and

incurring costs, and reasonable attorneys’ fees.

       25.     As a result of the failure to pay wages in accordance with the FLSA, Plaintiff, as

well as those similarly situated to Plaintiff, have suffered monetary damages by not receiving their

lawfully owed tips during their tenure of employment with Defendants. In addition to the amount




                                                   4
  Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.9 Filed 10/11/24 Page 9 of 13




 of unpaid tips owing to the Plaintiff and those similarly situated to the Plaintiff, Plaintiff and those

 similarly situated are also entitled to an additional amount equal to the unpaid tips as liquidated

 damages pursuant to 29 U.S.C. § 216(b).

        26.     Plaintiff and those similarly situated to Plaintiff are entitled to an award of

attorneys’ fees and expenses pursuant to 29 U.S.C. § 216(b).

        27.     Defendants’ actions in failing to compensate Plaintiff and other similarly situated

employees of Defendants in accordance with the provisions of the FLSA were willful and not in

good faith.

        28.     There are numerous other similarly situated employees and former employees of

Defendants who have been improperly compensated in violation of the FLSA who would benefit

from the issuance of court-supervised notice of the present lawsuit providing them with the

opportunity to join. Specifically, all employees and former employees of Defendants who have

been employed in the position of budtender at Herbology stores and who participated in a

mandatoiy tip pool should receive notice and be given the opportunity to join the present lawsuit.

          CLASS ACTION FOR VIOLATIONS OF MICHIGAN COMMON LAW

        29.     Defendants have violated Michigan common law, resulting in damages to Plaintiff

and all Class Members in the form of withheld tips, liquidated damages, incurred and incurring

costs, and reasonable attorneys’ fees.

        30.     The Class is defined as follows: All individuals employed by Defendants as hourly-

paid budtenders in Herbology stores in Michigan who participated in a mandatoiy tip pool at any

time within the past three years.

        31.     Upon information and belief, there are in excess of 100 members of the Class. Thus,

the Class is so numerous that joinder of all members is impracticable. Although the precise number




                                                   5
 Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.10 Filed 10/11/24 Page 10 of 13




of such persons is unknown, Class Members are known to Defendants, are readily identifiable, and

can be located through Defendants’ work and payroll records.

        32.      There are questions of law and fact common to the members of the Class, including

but not limited to whether Defendants violated Michigan common law by implementing an

unlawful tip pool that, among other things, required sharing of tips with supervisors and managers.

        33.      Other common questions of law and fact include, but are not limited to:

              (a) Whether the Defendants required Plaintiff and Class Members to participate in a

                 tip pool that unlawfully included supervisors, managers and other employees who

                 do not customarily and regularly receive tips;

              (b) Whether Defendants were unjustly enriched by their practices; and

              (c) Whether as a result of violations of Michigan common law, the Plaintiff and the

                 members of the Class are also entitled to an award of attorneys’ fees and costs.

        34.      The claims of Plaintiff Seguin are typical of all members of the Class. Plaintiff

Seguin has the same interests in this matter as all members of the Class.

        35.      Plaintiff Seguin is an adequate class representative, is committed to pursuing this

action, and has retained competent counsel experienced in wage and hour law and class action

litigation to represent the Class.

                                   COUNT ONE
                   VIOLATION OF THE FAIR LABOR STANDARDS ACT

        36.      Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

       37.       At all times material herein, Plaintiff and similarly situated budtenders have been

entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201, et seq.




                                                  6
 Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.11 Filed 10/11/24 Page 11 of 13




        38.    Under the FLSA, an “employer may not keep tips received by its employees for

any purposes, including allowing supervisors to keep any portion of employees’ tips.” 29 U.S.C.

§ 203(m)(2)(B); 29 C.F.R. § 531.50.

        39.    Defendants’ mandatory tip pool includes not only budtenders, but also the

supervisors and managers in violation of 29 U.S.C. § 203(m)(2)(B).

        40.    The mandatory tip pool, which unlawfully includes the supervisors and managers,

resulted in Plaintiff and those similarly situated not being paid the full amount of tips owed to them

pursuant to the FLSA.

        41.    Defendants’ violations of the FLSA as alleged herein have been done in a willful

and bad faith manner.

        42.    As a result of the aforesaid willful violations of the FLSA, compensation has been

unlawfully withheld by Defendants from Plaintiff and similarly situated persons for which the

Defendants are liable pursuant to 29 U.S.C. § 216(b), together with an additional equal amount as

liquidated damages, as well as reasonable attorneys’ fees and the costs of this action.

        43.    The employment and work records for the Plaintiff and similarly situated

employees are in the exclusive possession, custody, and control of Defendants, and Plaintiff is

unable to state at this time the exact amount owing to him and to those similarly situated.

Defendants are under a duty imposed by 29 U.S.C. § 211(c) and the regulations of the U.S.

Department of Labor to maintain and preserve Plaintiffs and similarly situated persons’ payroll

and other employment records from which the amounts of the Defendants’ liability can be

ascertained.




                                                 7
 Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.12 Filed 10/11/24 Page 12 of 13



                                                COUNT TWO
                                            UNJUST ENRICHMENT

        44.         Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

        45.         Plaintiff and the Class are entitled to retention of all of the tips paid to them by

customers.

        46.         Defendant failed to properly account for the tips paid to Plaintiff and the Class and

retained the fruits of the labor of Plaintiff and the Class, and retained the monies that should have

been paid to Plaintiff and the Class as tips.

        47.         Defendants were unjustly enriched by their refusal to pay Plaintiff and the Class all

tips owed and have benefited at their expense.

              48.       Defendants should be required to disgorge this unjust enrichment.

                                         PRAYER FOR RELIEF

        Wherefore, Plaintiff prays that this Court grant relief against the Defendants as follows:

        (a)         Enter a declaratory judgment declaring that the Defendants have willfully and

wrongfully violated Plaintiffs statutory and legal obligations and deprived Plaintiff and all others

who are similarly situated of their rights, privileges, protections, compensation, benefits, and

entitlements under the law, as alleged herein;

        (b)         Order a complete and accurate accounting of all the compensation and disgorged

tips to which the Plaintiff, all others who are similarly situated and the Class Members are entitled;

       (c)          Award Plaintiff, and all others who are similarly situated, monetary damages under

the FLSA in the form of back pay compensation, payment of disgorged tips, and benefits; unpaid

entitlements; and liquidated damages equal to their unpaid compensation;

       (h)          Award Plaintiff, all those similarly situated, and all Class Members their reasonable



                                                      8
Case 2:24-cv-12691-RJW-EAS ECF No. 1, PageID.13 Filed 10/11/24 Page 13 of 13



attorneys’ fees to be paid by the Defendant, and the costs and disbursements of this action; and

       (i)     Grant such other legal and equitable relief as may be just and proper.

                                    JURY TRIAL DEMAND

       Plaintiff hereby demands a jury trial in this action.




Dated: October 11, 2024                       Respectfully submitted,




                                              /s/ Benjamin J. Hall_______
                                              Benjamin J. Hall (P84975)
                                              Ben Hall Law
                                              139 W. Lake Lansing Rd.
                                              Suite 140
                                              East Lansing, MI 48823
                                              Phone: 517-798-5801
                                              Fax: 616-236-5179
                                              discoveiy@BenHallLaw.com
                                              mvw.BenHallLaw.com




                                              /s/ Molly A, Elkin___________________
                                              Molly A. Elkin (pro hac vice to be submitted)
                                              Rachel Lerner (pro hac vice to be submitted)
                                              McGILLIVARY STEELE ELKIN LLP
                                               1101 Vermont Ave., NW
                                              Suite 1000
                                              Washington, DC 20005
                                              Telephone: (202) 833-8855
                                              Fax: (202) 452-1090
                                              mae@mselaborlaw.com
                                              rbl@mselaborlaw.com

                                             Attorneys for Plaintiff




                                                 9
